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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF PENNSYLVANIA


LYNDON DUNBAR, et al.,
                                                       No. 2:17-cv-01527-AJS
                Plaintiffs,
vs.                                                    LEAD CASE

EVINE LIVE, INC.,

                Defendant.


ANTOINETTE SUCHENKO,
                                                       No. 2:17-cv-01603-AJS
                Plaintiff,
vs.                                                    MEMBER CASE

REDFIN CORPORATION,

                Defendant.



                                   NOTICE OF SETTLEMENT

               COMES NOW Plaintiff Antoinette Suchenko, by and through her undersigned

      counsel, and hereby advises this Honorable Court she has reached an agreement in

      principle with Defendant, Redfin Corporation. The parties are finalizing settlement and

      dismissal documents, and expect to file the dismissal papers within twenty (20) days.

                                               /s/ Kevin W. Tucker
                                               Kevin W. Tucker
                                               Benjamin J. Sweet
                                               Carlson Lynch Sweet Kilpela & Carpenter, LLP
                                               1133 Penn Avenue, 5th Floor
                                               Pittsburgh, PA 15222
                                               T. (412) 322-9243

                                               Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

       I, Kevin W. Tucker, hereby certify that on February 2, 2018, I caused a true and correct

copy of foregoing Notice of Settlement to be filed electronically and served via the Court’s ECF

system.


                                                  Respectfully Submitted,

                                            By: /s/ Kevin W. Tucker
                                                Kevin W. Tucker (PA Bar No. 312144)
